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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION

   ANTOINE RICHARD, ET AL.                            CIVIL NO. 15-2557

   V.                                                 JUDGE S MAURICE HICKS, JR.

   FLOWERS FOODS, INC., ET AL.                        MAGISTRATE JUDGE WHITEHURST


                                    MEMORANDUM ORDER
           Before the Court is a Motion for Reconsideration (Record Document 424) of this

   Court’s previous Memorandum Order issued on April 9, 2021 (Record Document 423).

   The Plaintiffs, who are representatives of a proposed class, ask this Court to reconsider

   its denial of class certification under the Louisiana Wage Payment Act and its

   decertification of the conditional class under the Fair Labor Standards Act. Defendants

   Flowers Foods, Inc. and its subsidiaries oppose the Motion. See Record Document 430.

   For the following reasons, the Motion is DENIED.

           This Court may revisit a previous order to determine whether there are “manifest

   errors of law or fact upon which the judgment is based, whether new evidence is available,

   whether there is a need to prevent manifest injustice, or whether there has been an

   intervening change in controlling law.” Phillips v. Whittington, 2020 WL 6325406 at * 11

   (W.D. La. 2020). A “[p]laintiff’s dissatisfaction with the result does not merit” a reversal of

   the Court’s prior finding. Llagas v. Sealift Holdings, Inc., 2019 WL 3526844 at * 3 (W.D.

   La.).

           The Court, in its Memorandum Order (Record Document 423), denied certification

   and granted decertification of the two proposed classes because it believed any analysis

   into the merits of the potential class members’ arguments could not be applied class wide.
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   See Swales v. KLLM Trans. Serv., LLC., 985 F.3d 430 (5th Cir. 2021). This Court found

   that “assessing the appropriateness of class certification will begin an individualized

   expedition into each class member’s circumstances.” Record Document 423 at 2.

   Plaintiffs, in their Motion, rest heavily on the findings of the Magistrate Judge. They assert

   that the differences relied upon by this Court in reaching its decision1 are insignificant to

   the overall question of whether there is a predominant issue that binds them all. They

   contend that splintered minitrials will not occur if the classes are certified, rather, they are

   more likely to occur if this Court does not certify. Their solution to any potential breakdown

   of the classes is for this Court to issue a case management order to the Magistrate Judge.

           The Court, however, finds that the Plaintiffs have failed to present a valid reason

   for reconsideration. See Phillips, 2020 WL 6325406 at * 11. Instead, Plaintiffs largely use

   their Motion to reinvigorate the findings of the Magistrate Judge in her Amended Report

   and Recommendation (Record Document 404) and to express their overall disagreement

   with this Court’s ruling. The Court believes the Fifth Circuit’s ruling in Swales, which was

   issued after the Magistrate’s Report and Recommendation, overshadows the analysis

   conducted by the Magistrate Judge. Swales calls on this Court to exercise broad litigation

   discretion and to consider all evidence relating to the merits of the independent contractor

   question posed by the Plaintiffs, including whether “the collective action would quickly

   devolve into a cacophony of individual actions.” Swales, 985 F.3d at 442. Plaintiffs’

   suggestion to proceed as a class which may then be broken into subclasses or narrowed




   1 Notably, the Plaintiffs argue in their Reply to the Defendants’ Opposition, that this Court failed to fulfill its
   duty to conduct a “rigorous analysis” and “probe behind the pleadings” to reach its conclusion to certify or
   decertify. The Court rejects this argument, as it relied on the detailed analysis of the facts conducted by the
   Magistrate Judge as a foundation before proceeding to conduct its own research into the facts and law
   relevant to its decision.
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   by motion practice defeats the purpose of certifying a class action, and the Court will not

   adopt the “figure-it-out-as-we-go-along approach” advocated for by the Plaintiffs. See

   Prantil v. Arkema, Inc., 986 F.3d 570 (5th Cir. 2021).

         For the foregoing reasons and those set forth in the Memorandum Order (Record

   Document 423),

         IT IS ORDERED that the Motion for Reconsideration (Record Document 424) be

   and is hereby DENIED.

         THUS DONE AND SIGNED in Shreveport, Louisiana, this 1st day of June, 2021.
